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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

    In re:                                                §
    VENTECH ENGINEERS LP et al.,                          §
                                                          §                   Case No. 17-33203
                        Debtors,                          §
                                                          §                 Jointly Administered
    RODNEY D. TOW, CHAPTER 7                              §
    TRUSTEE FOR THE ESTATES OF                            §
    VENTECH ENGINEERS                                     §               Adversary No. 20 - 03075
    INTERNATIONAL LLC & VENTECH                           §
    ENGINEERS, LP,                                        §
                                                          §
                       Plaintiffs,                        §
                                                          §
    v.                                                    §
                                                          §
    FIVE STAR PROPERTIES                                  §
    BROADWAY LLC, VELOCYS, INC.,                          §
    KREG STANLEY, KEVIN STANLEY,                          §
    BILL STANLEY, JOHNNY VIRGIN,                          §
    IAN ANDERSON & DOES 1-10,                             §
                                                          §
                      Defendants.                         §
                                                          §
                                                          §


         JOINT STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT

           Plaintiff Rodney D. Tow, Chapter 7 Trustee for the Estates of Ventech Engineers

International LLC & Ventech Engineers, LP (“Plaintiff”) and Defendants Five Star Properties

Broadway LLC, Velocys, Inc., Kreg Stanley, Kevin Stanley, Bill Stanley, and Ian Anderson

(collectively, Defendants”)1 file this Joint Stipulation to Extend Time to Respond to Plaintiff’s

Complaint (D.E. 1) (the “Complaint”) and respectfully show the Court the following:




1
    Defendants Johnny Virgin and Does 1-10 are not parties to this Stipulation.

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       1.      The current deadlines for Defendants to respond to the Complaint range from May

2-4, 2020.

       2.      Plaintiff and Defendants have agreed to an extension for Defendants to answer,

move, or otherwise respond to the Complaint on or before June 2, 2020.

       3.      Plaintiff and Defendants do not request this extension for purposes of delay, but so

that justice may be done.

                                            PRAYER

       For the reasons set forth above, Plaintiff and Defendants respectfully request the Court

enter an order reflecting the Parties’ stipulation, as well as all additional relief which the Court

deems appropriate.




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Date: May 4, 2020


                                         Respectfully submitted,


/s/ Charles Rubio                         /s/ Mitchell Murphy

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                                CERTIFICATE OF SERVICE


        I hereby certify that a true and correct copy of the foregoing document was electronically
filed with the Court and served through the CM-ECF system to all counsel of record registered to
receive a Notice of Electronic Filing for this case on the 4th day of May, 2020.


                                             By:    /s/ Mitchell Murphy
                                                    Mitchell Murphy




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